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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 WHAM-O HOLDING, LTD. and
 INTERSPORT CORP. d/b/a WHAM-O,
                                                                  Case No.: 19-cv-04407
          Plaintiffs,
                                                                  Judge Charles P. Kocoras
 v.
                                                                  Magistrate Judge M. David Weisman
 THE PARTNERSHIPS AND UNINCORPORATED
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                    NOTICE OF DISMISSAL

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                    DEFENDANT
                  41                                        Kimgee
                  42                                        Quintin
                 312                                       Brandun
                 313                                        Bunner
                 314                                     Qingteawater
                 315                                        Redeye
                 316                                       Superfeel
                 317                                        Wencull
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DATED: August 9, 2019                       Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
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                                            1033 South Blvd., Suite 200
                                            Oak Park, Illinois 60302
                                            Telephone: 708-203-4787
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on August 9, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
